Case 1:21-cv-20039-RNS Document 31-1 Entered on FLSD Docket 11/17/2021 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                      Case No. 1:21-cv-20039-RNS


   JOE MORFORD,

                         Plaintiff,

   vs.

   MAURIZIO CATTELAN,

                         Defendant.

   _________________________________________/


                          DECLARATION OF MAURIZIO CATTELAN

          I, Maurizio Cattelan, being over 18 years of age and competent to testify, and pursuant to

   28 U.S.C. § 1746, declare under penalty of perjury that the following is true and correct:

          1.      I am a citizen of Italy, and my primary residence is in Milan, Italy.

          2.      I own an apartment in the United States located at 263 9th Ave, New York, New

   York, 10001. It is not my primary residence.

          3.      Between the end of February 2020 and early March 2020 I departed the United

   States due to the emerging COVID-19 pandemic. I did not return to the United States until October

   28, 2021. No one had access to my New York apartment during my absence, and no one reviewed

   my mail.

          4.      The first time I learned of this lawsuit was on October 29, 2021. On October 29,

   2021, the day after my return to the United States, I reviewed the collection of mail and other

   material that had been delivered during my absence. In the collection of mail, I found one copy of
Case 1:21-cv-20039-RNS Document 31-1 Entered on FLSD Docket 11/17/2021 Page 2 of 3




   the summons and complaint filed in this action, which was not enclosed in an envelope. I did not

   receive a copy of the summons and complaint enclosed in a stamped envelope. However, I

   received other papers filed in this lawsuit enclosed in stamped envelopes.

          5.      On October 29, 2021, after reviewing the complaint, I immediately commenced

   efforts to hire a lawyer in New York and then Florida.

          6.      The last time I was in Florida was in 2017 for a brief visit. I have never resided in

   Florida. I have no business or business ventures in Florida. I do not own or lease real property in

   Florida or have a mortgage or lien on real property in Florida. I do not have bank accounts in

   Florida. I do not have investments in Florida. I do not have an office or studio in Florida. I have

   not purchased insurance for risks located in Florida.

          7.      I did not conceive of or create Comedian while in Florida. In 2018, New York

   Magazine commissioned me to create a magazine cover for its fiftieth anniversary. The cover I

   made was a photograph of a banana duct-taped to a wall. This inspired Comedian, which is the

   subject of this lawsuit.

          8.      I did not attend Art Basel in Miami Beach in 2019. I did not personally exhibit or

   sell Comedian at Art Basel in Miami Beach in 2019. Perrotin, a gallery with locations in Paris and

   New York, among other cities outside of Florida, exhibited Comedian at Art Basel in Miami Beach

   in 2019. I did not have control over Perrotin’s exhibition at the art fair.

          9.      Prior to reviewing the complaint on October 29, 2021, I had never heard of Joe

   Morford or heard of or seen his sculpture Banana & Orange. I am not connected to Mr. Morford

   on social media and never have been.




                                                      2
Case 1:21-cv-20039-RNS Document 31-1 Entered on FLSD Docket 11/17/2021 Page 3 of 3




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